Case 1:22-mj-02369-AOR Document 9 Entered on FLSD Docket 03/14/2022 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-MJ-02369

 UNITED STATES OF AMERICA

 vs.

 ENRIQUE TARRIO,
 also known as “Henry Tarrio,”

            Defendant.
                                        /

              UNITED STATES OF AMERICA=S NOTICE OF FILING OF
             MEMORANDUM IN SUPPORT OF MOTION FOR DETENTION

        The United States of America, by and through the undersigned Assistant United States

 Attorney, hereby files the Memorandum In Support of Motion for Detention, on behalf of the

 United States Attorney's Office for the District of Columbia, ahead of the detention and removal

 proceedings taking place on March 15, 2022, before the Honorable Magistrate Judge Lauren F.

 Louis. See Memorandum (attached hereto as Exhibit 1).


                                             Respectfully submitted,

                                             JUAN ANTONIO GONZALEZ
                                             UNITED STATES ATTORNEY

                                     By:     /s/ Eduardo Gardea
                                             EDUARDO GARDEA, JR.
                                             Assistant United States Attorney
                                             Court ID No. A5502663
                                             99 N.E. 4th Street, 6th Floor
                                             Miami, Florida 33132
                                             Tel.: (305) 961-9000
                                             eduardo.gardea.jr@usdoj.gov
Case 1:22-mj-02369-AOR Document 9 Entered on FLSD Docket 03/14/2022 Page 2 of 2




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the

 Court and delivered to counsel of record using CM/ECF this 14th day of March 2022.



                                                   /s/ Eduardo Gardea
                                                   EDUARDO GARDEA, JR.
                                                   Assistant United States Attorney




                                               2
